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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF LOUISIANA
                       NEW ORLEANS DIVISION

JAMES CHESTER, III, DENNIS CROCKER,  )
BRADLEY DASPIT, PETER HAAS,          )          Civil Action No:
RICHARD HIRSTIUS, GENE JONES,        )
TROY LACOUR, EDWARD MAYERS, III,     )          COMPLAINT AND JURY
KIRK MEIER, BRIAN MONNERJAHN,        )          DEMAND
ANTHONY SAMBOLA, JR.,                )
                                     )
            Plaintiffs,              )
                                     )
v.                                   )
                                     )
THE 3M COMPANY, f/k/a MINNESOTA      )
MINING AND MANUFACTURING CO.,        )
AGC CHEMICALS AMERICAS, INC.,        )
ALLSTAR FIRE EQUIPMENT,              )
AMEREX CORP., ARCHROMA US,           )
INC., ARKEMA, INC., BASF CORP.,      )
BUCKEYE FIRE EQUIPMENT CO.,          )
CARRIER GLOBAL CORP., CHEMDESIGN )
PRODUCTS, INC., CHEMGUARD, INC.,     )
CHEMICALS, INC., THE CHEMOURS CO., )
CHEMOURS COMPANY FC, L.LC.,          )
CHUBB FIRE, LTD., CLARIANT CORP.,    )
CORTEVA, INC., DEEPWATER             )
CHEMICALS, INC., DU PONT             )
DE NEMOURS, INC., DYNAX CORP.,       )
E.I. DU PONT DE NEMOURS AND          )
COMPANY, FIRE-DEX, LLC, GLOBE        )
MANUFACTURING COMPANY, LLC,          )
HONEYWELL SAFETY PRODUCTS USA,       )
INC., KIDDE-FENWAL, INC.,            )
KIDDE P.L.C., INC., LION GROUP, INC. )
MALLORY SAFETY AND SUPPLY, LLC,      )
MINE SAFETY APPLIANCES CO., INC,     )
MUNICIPAL EMERGENCY SERVICES. INC., )
NATION FORD CHEMICAL CO;             )
NATIONAL FOAM, INC.,                 )
PBI PERFORMANCE PRODUCTS, INC.,      )
SOUTHERN MILLS, INC.,                )
STEDFAST USA, INC.                   )
TYCO FIRE PRODUCTS, L.P.,            )
UNITED TECHNOLOGIES CORP.,           )


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UTC FIRE & SECURITY AMERICAS CORP., )
W.L. GORE & ASSOCIATES, INC.        )
                                    )
           Defendants.              )

                                              COMPLAINT

          Plaintiffs, James Chester, III, Dennis Crocker, Bradley Daspit, Peter Haas, Richard

Hirstius, Gene Jones, Troy LaCour, Edward Mayers, III, Kirk Meier, Brian Monnerjahn, and

Anthony Sambola, Jr. ("Plaintiffs"), by and through the undersigned counsel, allege upon

information and belief, as follows:

                                     NATURE OF THE ACTION

          1.    Aqueous Film Forming Foam (“AFFF ") is a specialized substance designed to

extinguish petroleum-based fires. It has been used for decades, and continues to be used, by

civilian and military firefighters to put out fires and in training and response exercises in

preparation for fires.

          2.    AFFF contains synthetic, toxic per- and polyfluoroalkyl substances collectively

 known as “PFAS.” 1 PFAS bind to proteins in the blood of animals and humans exposed to such

 materials and not only remain and persist over long periods of time, but, due to their unique

 chemical structure, accumulate and build up in the blood/bodies of the exposed individuals with

 each additional exposure, no matter how small. PFAS can travel long distances, move through



      1
       " PFAS” includes but is not limited to: perfluorooctanoic acid (“PFOA”) and perfluorooctane sulfonic acid
      (“PFOS”) and related chemicals, including but not limited to those that degrade to PFOA and/or PFOS, and
      including but not limited to C3-C-15 PFAS chemicals, such as perfluorohexanesulfonate (PFHxS),
      perfluorononanoate (PFNA), perfluorobutanesulfonate (PFBS), perfluorohexanoate (PFHxA),
      perfluoroheptanoate (PFHpA), perfluoroundecanoate (PFUnA), perfluorododecanoate (PFDoA), HFPA
      Dimer Acid (CAS # 13252 -13- 6/C3 Dimer Acid/P-08-508/FRD903/GX903/C3DA/GenX), and HFPA Dimer
      Acid     Ammonium       Salt    (CAS#62037-80-3/ammonium           salt   of   C3     Dimer    Acid/P-08-
      509/FRD902/GX903/GenX)




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soil, seep into groundwater, or be carried through air.

       3.      Defendants collectively designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, sold and/or otherwise handled and/or used

AFFF with knowledge that it contained highly toxic and long lasting PFASs, which would

contaminate Plaintiffs’ blood and/or bodies with PFAS, and the resultant biopersistence and

bioaccumulation of such PFAS in the blood and/or bodies of Plaintiffs. Further, defendants

designed, marketed, developed, manufactured, distributed, released, trained users, produced

instructional materials, promoted, sold and/or otherwise handled and/or used underlying chemicals

and/or products added to AFFF which contained PFAS for use in firefighting. Further, defendants

designed, marketed, developed, manufactured, distributed, released, trained users, produced

instructional materials, promoted, sold and/or otherwise handled and/or used PFAS, PFAS

materials, and products containing PFAS in turnout gear for use in firefighting.

          4.   As a result, Plaintiffs were exposed to AFFF containing PFAS and suffered severe

personal injuries as a result.

       5.      This action is brought by Plaintiffs for injunctive, equitable, and declaratory relief

for injuries arising from the intentional, knowing, reckless and/or negligent acts and/or omissions

of Defendants in connection with contamination of the blood and/or bodies of Plaintiffs with PFAS

through the design, marketing, development, manufacture, distribution, release, training, and sale

of AFFF containing PFAS, and/or underlying chemicals and/or products added to AFFF which

contained PFAS, and/or PFAS or products containing PFAS in turnout gear for use in firefighting.

                                 JURISDICTION AND VENUE

     6.        This Court has jurisdiction over the subject matter of this Complaint, pursuant to

28 U.S.C. §1332(a), as the parties are completely diverse in citizenship and the amount in



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controversy exceeds $75,000. This Court has jurisdiction over the commencement date of these

actions pursuant to 42 U.S.C. § 9658, in the Superfund Amendments and Reauthorization Act of

1986 amendment to the Comprehensive Environmental Response, Compensation, and Liability

Act ("CERCLA”).

       7.      Venue is proper in the United States District Court in the Eastern District of

Louisiana, New Orleans Division pursuant to 28 U.S.C. § 1391 because it is the judicial district in

which Plaintiffs are residents and citizens, a substantial part of events or omissions giving rise to

the claims occurred, and Defendants conduct business within this district.

                                            PARTIES

                                             Plaintiffs

       8.      Plaintiff James Chester, III is a resident and citizen of Slidell, St. Tammany Parish,

Louisiana. Plaintiff brings this action due to personal injuries sustained as a result of exposure to

Defendants' AFFF containing PFAS.

       9.      Plaintiff Dennis Crocker is a resident and citizen of Independence, Tangipahoa

Parish, Louisiana. Plaintiff brings this action due to personal injuries sustained as a result of

exposure to Defendants' AFFF containing PFAS.

       10.     Plaintiff Bradley Daspit is a resident and citizen of Houma, Terrebone Parish,

Louisiana. Plaintiff brings this action due to personal injuries sustained as a result of exposure to

Defendants' AFFF containing PFAS.

       11.     Plaintiff Peter Haas is a resident and citizen of Slidell, St. Tammany Parish,

Louisiana. Plaintiff brings this action due to personal injuries sustained as a result of exposure to

Defendants' AFFF containing PFAS.

       12.     Plaintiff Richard Hirstius is a resident and citizen of New Orleans, Orleans Parish,



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Louisiana. Plaintiff brings this action due to personal injuries sustained as a result of exposure to

Defendants' AFFF containing PFAS.

       13.     Plaintiff Gene Jones is a resident and citizen of Avondale, Jefferson Parish,

Louisiana. Plaintiff brings this action due to personal injuries sustained as a result of exposure to

Defendants' AFFF containing PFAS.

       14.     Plaintiff Troy LaCour is a resident and citizen of New Orleans, Orleans Parish,

Louisiana. Plaintiff brings this action due to personal injuries sustained as a result of exposure to

Defendants' AFFF containing PFAS.

       15.     Plaintiff Edward Mayers, III is a resident and citizen of Kenner, Jefferson Parish,

Louisiana. Plaintiff brings this action due to personal injuries sustained as a result of exposure to

Defendants' AFFF containing PFAS.

       16.     Plaintiff Kirk Meier is a resident and citizen of Metairie, Jefferson Parish,

Louisiana. Plaintiff brings this action due to personal injuries sustained as a result of exposure to

Defendants' AFFF containing PFAS.

       17.     Plaintiff Brian Monnerjahn is a resident and citizen of Slidell, St. Tammany Parish,

Louisiana. Plaintiff brings this action due to personal injuries sustained as a result of exposure to

Defendants' AFFF containing PFAS.

       18.     Plaintiff Antony Sambola, Jr. is a resident and citizen of Ponchatoula, Tangipahoa

Parish, Louisiana. Plaintiff brings this action due to personal injuries sustained as a result of

exposure to Defendants' AFFF containing PFAS.

                                            Defendants

       19.     Defendant, 3M Company, f/k/a Minnesota Mining and Manufacturing Company,

(“3M”), is a Delaware corporation and does business throughout the United States, including



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conducting business in Louisiana. 3M has its principal place of business at 3M Center, St. Paul,

Minnesota 55133.

          20.   3M designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, promoted, sold and/or otherwise handled and/or used

AFFF containing PFAS that are used in firefighting training and response exercises which are the

subject of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood and/or

bodies with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood and/or

bodies.

          21.   Defendant, AGC Chemicals Americas Inc. (“AGC Chemicals”), is a Deleware

Corporation and does business through the United States, including conducting business in

Louisiana. AGC Chemicals has its principal place of business at 55 E. Uwchlan Ave, Ste 201,

Exton, Pennsylvania 19341.

          22.   AGC Chemicals, manufactured fluoropolymer chemicals and surfactants for AFFF

manufacturers who designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood and/or bodies

with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

          23.   Defendant, Allstar Fire Equipment (“Allstar”) is a California corporation and does

business throughout the United States, including in Louisiana. Allstar has its principal place of

business at 12328 Lower Azusa Road, Arcadia, California 91006.

          24.   Allstar developed, manufactured, marketed, distributed, released, sold, and/or used

PFAS, PFAS materials, and products containing PFAS in turnout gear for use in firefighting.



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       25.     Defendant, Amerex Corp. (“Amerex”), is an Alabama corporation organized and

existing under the laws of Alabama and does business throughout the United States, including

conducting business in Louisiana. Amerex has its principal place of business at 7595 Gadsden

Highway, Trussville, AL 35173.

       26.     Amerex designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold and/or otherwise handled and/or designed and

manufactured components of and/or used AFFF containing PFAS that are used in firefighting

training and response exercises which are the subject of this Complaint in such a way as to result

in the contamination of Plaintiffs’ blood and/or bodies with PFAS, and the biopersistence and

bioaccumulation of such PFAS in their blood and/or bodies.

       27.     Defendant Archroma U.S., Inc. (“Archroma”), is a Delaware corporation and does

business throughout the United States, including conducting business in Louisiana. Archroma has

its principal place of business at 4000 Monroe Road, Charlotte, North Carolina 28205.

       28.     Archroma designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood and/or bodies

with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

       29.     Defendant, Arkema, Inc., is a Pennsylvania corporation and does business

throughout the United States, including conducting business in Louisiana. Arkema, Inc. has its

principal place of business at 900 1st Avenue, King of Prussia, Pennsylvania 19406.

       30.     Arkema, Inc., designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF



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containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood and/or bodies

with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

       31.     Defendant, BASF Corporation (“BASF”), is a Delaware corporation doing business

throughout the United States, including conducting business in Louisiana. BASF Corporation has

its principal place of business at 100 Park Ave., Florham Park, New Jersey 07932.

       32.     BASF is successor-in-interest to Ciba-Geigy Corp. and Ciba Inc., which

manufactured fluorosurfactants for AFFF manufacturers who designed, marketed, developed,

manufactured, distributed, released, trained users, produced instructional materials, sold and/or

otherwise handled and/or used AFFF containing PFAS that are used in firefighting training and

response exercises which are the subject of this Complaint in such a way as to result in the

contamination of Plaintiffs’ blood and/or bodies with PFAS, and the biopersistence and

bioaccumulation of such PFAS in their blood and/or bodies.

       33.     Defendant Buckeye Fire Equipment Company (“Buckeye”) is an Ohio corporation

and does business throughout the United States, including conducting business in Louisiana.

Buckeye has its principal place of business at 110 Kings Road, Mountain, North Carolina 28086.

       34.     Buckeye designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood and/or bodies

with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

       35.     Defendant, Carrier Global Corporation (“Carrier Global”), is a Delaware

corporation and does business throughout the United States, including conducting business in



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Louisiana. Carrier Global Corporation has its principal place of business at 13995 Pasteur

Boulevard, Palm Beach Gardens, Florida 33418.

       36.     Carrier Global Corporation inherited UTC’s Fire & Security businesses, including

the Chubb Fire and Kidde-Fenwall brands, when it was formed in March 2020. Carrier Global

Corporation is the parent corporation of Kidde-Fenwal Inc., a manufacturer of AFFF who

designed, marketed, developed, manufactured, distributed, released, trained users, produced

instructional materials, sold and/or otherwise handled and/or used AFFF containing PFAS that are

used in firefighting training and response exercises which are the subject of this Complaint in such

a way as to result in the contamination of Plaintiffs’ blood and/or bodies with PFAS, and the

biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

       37.     Defendant, ChemDesign Products, Inc. (“ChemDesign”), f/k/a “SpecialtyChem

Acquisition Corp.”, is a Texas Corporation that does business throughout the United States,

including conducting business in Louisiana. ChemDesign Products, Inc. has its principal place of

business at 2 Stanton St., Marinette, Wisconsin 54143.

       38.     ChemDesign manufactured fluorosurfactants for AFFF manufacturers, Tyco and

Chemguard, who designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood and/or bodies

with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

       39.     Defendant Chemguard, Inc. (“Chemguard”) is a Wisconsin corporation and does

business throughout the United States, including conducting business in Louisiana. Chemguard

has its principal place of business at One Stanton Street, Marinette, Wisconsin 54143.



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       40.     Chemguard designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood and/or bodies

with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

       41.     Defendant, Chemicals, Inc., is a Texas Corporation and does business throughout

the United States, including conducting business in Louisiana. Chemicals, Inc. has its principal

place of business at 12321 Hatcherville Rd., Baytown, Texas 77521.

       42.     Chemicals, Inc. manufactured fluorochemicals for AFFF manufacturers who

designed, marketed, developed, manufactured, distributed, released, trained users, produced

instructional materials, sold and/or otherwise handled and/or used AFFF containing PFAS that are

used in firefighting training and response exercises which are the subject of this Complaint in such

a way as to result in the contamination of Plaintiffs’ blood and/or bodies with PFAS, and the

biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

       43.     Defendant The Chemours Company (“Chemours”), is a Delaware corporation and

does business throughout the United States, including conducting business in Louisiana. Chemours

has its principal place of business 1007 Market Street, Wilmington, Delaware 19898.

       44.     Chemours designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood and/or bodies

with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

       45.     Defendant Chemours Company FC, LLC (“Chemours FC”), is a Delaware



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corporation and does business throughout the United States, including conducting business in

Louisiana. Chemours has its principal place of business 1007 Market Street, Wilmington,

Delaware 19898.

         46.   Chemours FC designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood and/or bodies

with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

         47.   Defendant Chubb Fire, Ltd. (“Chubb”) is a foreign private limited company, with

offices at Littleton Road, Ashford, Middlesex, United Kingdom TW15 1TZ. Upon information

and belief, Chubb is registered in the United Kingdom with a registered number of 134210. Upon

information and belief, Chubb is or has been composed of different subsidiaries and/or divisions,

including but not limited to, Chubb Fire & Security Ltd., Chubb Security, PLC, Red Hawk Fire &

Security, LLC, and/or Chubb National Foam, Inc.

         48.   Chubb Fire designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood and/or bodies

with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

         49.   Defendant, Clariant Corporation (“Clariant”), is a New York corporation and does

business throughout the United States, including conducting business in Louisiana. Clariant

Corporation has its principal place of business at 4000 Monroe Road, Charlotte, North Carolina

28205.



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       50.     Clariant was a fluruotelomer manufacturer which produced fluorosurfactants for

AFFF manufacturers that designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood and/or bodies

with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

Clariant acquired by SK Capital Partners and became Archroma Management LLC.

       51.     Defendant Corteva, Inc. (“Corteva”) is a Delaware Corporation that conducts

business throughout the United States, including conducting business in Louisiana. Its principal

place of business is 974 Center Rd, Wilmington, Delaware 19805.

       52.     Corteva designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood and/or bodies

with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

       53.     Defendant, Deepwater Chemicals, Inc., is a Delaware corporation and does

business throughout the United States, including conducting business in Louisiana. Deepwater

Chemicals, Inc. has its principal place of business at 196122 E County Road 40, Woodward,

Oklahoma 73801.

       54.     Deepwater Chemicals, Inc. manufactured fluorochemicals for AFFF manufacturers

which designed, marketed, developed, manufactured, distributed, released, trained users, produced

instructional materials, sold, and/or otherwise handled and/or used AFFF containing PFAS that

are used in firefighting training and response exercises which are the subject of this Complaint in



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such a way as to result in the contamination of Plaintiffs’ blood and/or bodies with PFAS, and the

biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

         55.   Defendant Du Pont de Nemours Inc. (f/k/a DowDuPont, Inc.) (“DowDuPont”), is

a Delaware corporation and does business throughout the United States, including conducting

business in Louisiana. DowDuPont, has its principal place of business at 974 Centre Road,

Wilmington, Delaware 19805 and 2211 H.H. Dow Way, Midland, Michigan 48674.

         56.   DowDuPont designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood and/or bodies

with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

         57.   Defendant E. I. du Pont de Nemours and Company (“DuPont”), is a Delaware

corporation and does business throughout the United States, including conducting business in

Louisiana. DuPont has its principal place of business at 1007 Market Street, Wilmington, Delaware

19898.

         58.   DuPont designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood and/or bodies

with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

         59.   Defendant Dynax Corporation (“Dynax”) is a Delaware Corporation that conducts

business throughout the United States, including conducting business in Louisiana. Its principal

place of business is 103 Fairview Park Drive, Elmsford, New York, 10523-1544.



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         60.   Dynax designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood and/or bodies

with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

         61.   Defendant Fire-Dex, LLC (“Fire-Dex”) is a Delaware corporation and does

business throughout the United States, including conducting business in Louisiana. Fire-Dex has

its principal place of business at 780 South Progress Drive, Medina, Ohio 44256.

         62.   Fire-Dex developed, manufactured, marketed, distributed, released, sold, and/or

used PFAS, PFAS materials, and products containing PFAS in turnout gear for use in firefighting.

         63.   Defendant Globe Manufacturing Company LLC (“Globe”) is a New Hampshire

corporation and does business throughout the United States, including conducting business in

Louisiana. Globe has its principal place of business at 37 Loudon Road, Pittsfield, New Hampshire

03263.

         64.   Globe developed, manufactured, marketed, distributed, released, sold, and/or used

PFAS, PFAS materials, and products containing PFAS in turnout gear for use in firefighting.

         65.   Defendant Honeywell Safety Products USA, Inc. (“Honeywell”) is a Delaware

corporation and does business throughout the United States, including conducting business in

Louisiana. Honeywell has its principal place of business at 300 South Tryon Street Suite 500,

Charlotte, North Carolina 28202.

         66.   Honeywell developed, manufactured, marketed, distributed, released, sold, and/or

used PFAS, PFAS materials, and products containing PFAS in turnout gear for use in firefighting.

         67.   Defendant Kidde-Fenwal, Inc. (“Kidde-Fenwal”) is a corporation organized under



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the laws of the State of Delaware and does business throughout the United States, including

conducting business in Louisiana. Kidde-Fenwal has its principal place of business at One

Financial Plaza, Hartford, Connecticut 06101. Kidde-Fenwal is the successor- in-interest to Kidde

Fire Fighting, Inc. (f/k/a Chubb National Foam, Inc. f/k/a National Foam System, Inc.)

(collectively, “Kidde/Kidde Fire”).

       68.     Kidde-Fenwal designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood and/or bodies

with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

       69.     Defendant Kidde P.L.C., Inc. (“Kidde P.L.C.”) is a Delaware corporation organized

and existing under the laws of the State of Delaware and does business throughout the United

States, including conducting business in Louisiana. Kidde P.L.C. has its principal place of business

at One Carrier Place, Farmington, Connecticut 06034. Upon information and belief, Kidde PLC

was formerly known as Williams Holdings, Inc. and/or Williams US, Inc.

       70.     Kidde P.L.C. designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood and/or bodies

with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

       71.     Defendant Lion Group, Inc. (“Lion”) is an Ohio corporation and does business

throughout the United States, including conducting business in Louisiana. Lion has its principal

place of business at 7200 Poe Avenue, Suite 400 Dayton, Ohio, 45414.



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       72.    Lion developed, manufactured, marketed, distributed, released, sold, and/or used

PFAS, PFAS materials, and products containing PFAS in turnout gear for use in firefighting.

       73.    Defendant Mallory Safety and Supply LLC. (“Mallory”) is a Washington

corporation and does business throughout the United States, including conducting business in

Louisiana. Mallory has its principal place of business at 1040 Industrial Way, Longview,

Washington, 98632.

       74.    Mallory developed, manufactured, marketed, distributed, released, sold, and/or

used PFAS, PFAS materials, and products containing PFAS in turnout gear for use in firefighting.

       75.    Defendant Mine Safety Appliances Co., Inc. (“MSA”) is a Pennsylvania

corporation and does business throughout the United States, including conducting business in

Louisiana. MSA has its principal place of business at 1000 Cranberry Woods Drive, Cranberry

Township, Pennsylvania, 16066.

       76.    MSA developed, manufactured, marketed, distributed, released, sold, and/or used

PFAS, PFAS materials, and products containing PFAS in turnout gear for use in firefighting.

       77.    Defendant Municipal Emergency Services, Inc. (“MES”) is a Nevada corporation

and does business throughout the United States, including conducting business in Louisiana. MES

has its principal place of business at 12 Turnberry Lane, Sandy Hook, Connecticut 06482.

       78.    MES developed, manufactured, marketed, distributed, released, sold, and/or used

PFAS, PFAS materials, and products containing PFAS in turnout gear for use in firefighting.

       79.    Defendant, Nation Ford Chemical Company, is a South Carolina corporation and

does business throughout the United States, including conducting business in Louisiana. Nation

Ford Chemical Company has its principal place of business at 2300 Banks Street, Fort Mill, South

Carolina 29715.



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          80.   Nation     Ford    Chemical    Company      manufactured      fluorochemicals    for

fluorosurfactant and/or AFFF manufacturers which designed, marketed, developed, manufactured,

distributed, released, trained users, produced instructional materials, sold, and/or otherwise

handled and/or used AFFF containing PFAS that are used in firefighting training and response

exercises which are the subject of this Complaint in such a way as to result in the contamination

of Plaintiffs’ blood and/or bodies with PFAS, and the biopersistence and bioaccumulation of such

PFAS in their blood and/or bodies.

          81.   Defendant National Foam, Inc. (“National Foam”) is a Delaware corporation and

does business throughout the United States, including conducting business in Louisiana. National

Foam has its principal place of business at 350 East Union Street, West Chester, Pennsylvania

19382.

          82.   National    Foam      designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, sold and/or otherwise handled and/or used

AFFF containing PFAS that are used in firefighting training and response exercises which are the

subject of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood and/or

bodies with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood and/or

bodies.

          83.   Defendant PBI Performance Products, Inc. (“PBI”) is a Delaware corporation and

does business throughout the United States, including conducting business in Louisiana. PBI has

its principal place of business at 9800-D Southern Pine Boulevard, Charlotte, North Carolina

28273.

          84.   PBI developed, manufactured, marketed, distributed, released, sold, and/or used

PFAS, PFAS materials, and products containing PFAS in turnout gear for use in firefighting.



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        85.     Defendant Southern Mills, Inc. (“Southern Mills”) is a Georgia corporation and

does business throughout the United States, including conducting business in Louisiana. Southern

Mills has its principal place of business at 6501 Mall Boulevard, Union City, Georgia 30291.

        86.     Southern Mills developed, manufactured, marketed, distributed, released, sold,

and/or used PFAS, PFAS materials, and products containing PFAS in turnout gear for use in

firefighting.

        87.     Defendant Stedfast USA, Inc. (“Stedfast”) is a Delaware corporation and does

business throughout the United States. Stadfast has its principal place of business at 800 Mountain

View Drive, Piney Flats, Tennessee 37686.

        88.     Stedfast developed, manufactured, marketed, distributed, released, sold, and/or

used PFAS, PFAS materials, and products containing PFAS in turnout gear for use in firefighting.

        89.     Defendant Tyco Fire Products, LP, as successor-in-interest to The Ansul Company

(“Tyco”), is a Delaware limited partnership and does business throughout the United States,

including conducting business in Louisiana. Tyco has its principal place of business at One Stanton

Street, Marinette, Wisconsin 54143. Tyco manufactured and currently manufactures the Ansul

brand of products, including Ansul brand AFFF containing PFAS.

        90.     Tyco is the successor in interest to the corporation formerly known as The Ansul

Company (“Ansul”). At all times relevant, Tyco/Ansul designed, marketed, developed,

manufactured, distributed released, trained users, produced instructional materials, sold and/or

otherwise handled and/or used AFFF containing PFAS that are used in firefighting training and

response exercises which are the subject of this Complaint in such a way as to result in the

contamination of Plaintiffs’ blood and/or bodies with PFAS, and the biopersistence and

bioaccumulation of such PFAS in their blood and/or bodies.



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       91.       Defendant United Technologies Corporation (“United Technologies”) is a foreign

corporation organized and existing under the laws of the State of Delaware and does business

throughout the United States, including conducting business in Louisiana. United Technologies

has its principal place of business at 8 Farm Springs Road, Farmington, Connecticut 06032.

       92.       United Technologies designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, sold, and/or otherwise handled and/or

used AFFF containing PFAS that are used in firefighting training and response exercises which

are the subject of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood

and/or bodies with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood

and/or bodies.

       93.       Defendant UTC Fire & Security Americas Corporation, Inc. (f/k/a GE Interlogix,

Inc.)(“UTC”) is a North Carolina corporation and does business throughout the United States,

including conducting business in Louisiana. UTC has principal place of business at 3211 Progress

Drive, Lincolnton, North Carolina 28092. Upon information and belief, Kidde-Fenwal, Inc. is part

of the UTC Climate Control & Security unit of United Technologies Corporation.

       94.       UTC designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint in such a way as to result in the contamination of Plaintiffs’ blood and/or bodies

with PFAS, and the biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

       95.       Defendant W.L. Gore & Associates Inc. (“Gore”) is a Delaware corporation and

does business throughout the United States, including conducting business in Louisiana. Gore has

its principal place of business at 1901 Barksdale Road, Newark, Delaware 19711.



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       96.     Gore developed, manufactured, marketed, distributed, released, sold, and/or used

PFAS, PFAS materials, and products containing PFAS in turnout gear for use in firefighting.

       97.     When reference is made in this Complaint to any act or omission of any of the

Defendants, it shall be deemed that the officers, directors, agents, employees, or representatives of

the Defendants committed or authorized such act or omission, or failed to adequately supervise or

properly control or direct their employees while engaged in the management, direction, operation,

or control of the affairs of Defendants, and did so while acting within the scope of their duties,

employment or agency.

       98.     The term “Defendant” or “Defendants” refers to all Defendants named herein

jointly and severally.

                           GENERAL FACTUAL ALLEGATIONS

       99.     AFFF is a mixture of chemicals, including PFAS, used to put out petroleum- based

fuel and other flammable liquid fires. AFFF lowers surface tension of the fuel, which starves a fire

of its oxygen supply. While the fluorinated compounds in AFFF work well to extinguish fires, they

are not biodegradable. These toxic chemicals accumulate and contaminate the bodies of animals

and humans who come in contact with or consume them.

       100.    Defendants designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled AFFF containing

toxic PFAS, and/or underlying chemicals and/or products added to AFFF which contained PFAS,

and/or PFAS or products containing PFAS in turnout gear for use in firefighting for use in

firefighting that were used at fire departments, airports, air force bases and naval bases around the

country.

       101.    Defendants have each designed, marketed, developed, distributed, sold,



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manufactured, released, trained users on, produced instructional materials for, and/or otherwise

handled and/or used AFFF containing PFAS, and/or underlying chemicals and/or products added

to AFFF which contained PFAS, and/or PFAS or products containing PFAS in turnout gear for

use in firefighting, in such a way as to cause the contamination of Plaintiffs’ blood and/or bodies

with PFAS, and the resultant biopersistence and bioaccumulation of such PFAS in the blood

and/or bodies of Plaintiffs.

       102.    Prior to commercial development and large-scale manufacture and use of AFFF

containing PFAS, no such PFAS had been found, detected, or were present in human blood.

       103.    By at least the end of the 1960s, animal toxicity testing performed by Defendants

manufacturing and/or using PFAS, and/or underlying chemicals and/or products added to AFFF,

and/or PFAS or products containing PFAS in turnout gear indicated that exposure to such

materials, including at least PFOA, resulted in various adverse health effects among multiple

species of laboratory animals, including toxic effects to the liver, testes, adrenals, and other organs

and bodily systems.

       104.    By at least the end of the 1960s, additional research and testing performed by

Defendants manufacturing and/or using PFAS, and/or underlying chemicals and/or products added

to AFFF, and/or products containing PFAS in turnout gear indicated that such materials, including

at least PFOA, because of their unique chemical structure, were resistant to environmental

degradation and would persist in the environment essentially unaltered if allowed to enter the

environment.

       105.    By at least the end of the 1970s, additional research and testing performed by

Defendants manufacturing and/or using PFAS, and/or underlying chemicals and/or products added

to AFFF, and/or products containing PFAS in turnout gear indicated that one or more such



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materials, including at least PFOA and PFOS, because of their unique chemical structure, would

bind to proteins in the blood of animals and humans exposed to such materials where such

materials would not only remain and persist over long periods of time but would accumulate and

build up in the blood/bodies of the exposed individuals with each additional exposure, no matter

how small.

        106.   Defendants manufacturing and/or using AFFF containing PFAS, and/or underlying

chemicals and/or products added to AFFF, and/or products containing PFAS in turnout gear

released such PFAS into the environment during, as a result of, or in connection with their

manufacturing and other commercial operations, including into the air, surface waters, ground

water, soils, landfills, and/or through their involvement and/or participation in the creation of

consumer or other commercial products and materials and related training and response and

instructional materials and activities that Defendants knew, foresaw, and/or reasonably should

have known and/or foreseen would expose Plaintiffs to such PFAS.

        107.   By at least the end of the 1970s, Defendants manufacturing and/or using PFAS,

and/or underlying chemicals and/or products added to AFFF, and/or products containing PFAS in

turnout gear, including at least DuPont and 3M, were aware that PFAS, including at least PFOA

and PFOS, had been detected not only in the blood of workers at PFAS manufacturing facilities,

but in the blood of the general population of the United States in people not known to be working

at or living near PFAS manufacturing and/or use facilities, indicating to such Defendants that

continued manufacture and use of such PFAS materials would inevitably result in continued and

increased levels of PFAS getting into the environment and into human blood across the United

States, even in areas nowhere near or associated with specific PFAS manufacturing or use

facilities.



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       108.    By at least the end of the 1980s, additional research and testing performed by

Defendants manufacturing and/or using PFAS, and/or underlying chemicals and/or products added

to AFFF, and/or products containing PFAS in turnout gear, indicated that at least one such PFAS,

PFOA, had caused Leydig cell (testicular) tumors in a chronic cancer study in rats, resulting in at

least one such Defendant, DuPont, classifying such PFAS internally as a confirmed animal

carcinogen and possible human carcinogen.

       109.    It was understood by Defendants by at least the end of the 1980s that a chemical

that caused cancer in animal studies must be presumed to present a cancer risk to humans, unless

the precise mechanism of action by which the tumors were caused was known and it was known

that such mechanism of action would not be operative and/or occur in humans.

       110.    By at least the end of the 1980s, scientists had not determined the precise

mechanism of action by which any PFAS caused tumors and thus prevailing scientific principles

of carcinogenesis classification mandated that Defendants presume any such PFAS material that

caused tumors in animal studies could present a potential cancer risk to exposed humans.

       111.    By at least the end of the 1980s, additional research and testing performed by

Defendants manufacturing and/or using PFAS, and/or underlying chemicals and/or products added

to AFFF, and/or products containing PFAS in turnout gear, including at least DuPont, indicated

that elevated incidence of certain cancers and other adverse health effects, including elevated liver

enzymes and birth defects, had been observed among workers exposed to such materials, including

at least PFOA, but such data was not published, provided to governmental entities as required by

law, or otherwise publicly disclosed at the time.

       112.    By at least the end of the 1980s, Defendants, including at least 3M and DuPont,

understood that, not only did these PFAS, including at least PFOA and PFOS, get into and persist



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and accumulate in human blood and in the human body, but that once in the human body and

blood, particularly the longer-chain PFAS, such as PFOS and PFOA, had a long half-life, meaning

that they would take a very long time (years) before even half of the material would start to be

eliminated (assuming no further exposures), which allowed increasing levels of the chemicals to

build up and accumulate in the blood and/or bodies of exposed individuals over time, particularly

if any level of exposures continued.

       113.    By at least the end of the 1990s, additional research and testing performed by

Defendants manufacturing and/or using PFAS, including at least 3M and DuPont, indicated that

at least one such PFAS, PFOA, had caused a triad of tumors (Leydig cell (testicular), liver, and

pancreatic) in a second chronic cancer study in rats.

       114.    By at least the end of the 1990s, the precise mechanism(s) of action by which any

PFAS caused each of the tumors found in animal studies had still not been identified, mandating

that Defendants continue to presume that any such PFAS that caused such tumors in animal studies

could present a potential cancer risk to exposed humans.

       115.    By at least 2010, additional research and testing performed by Defendants

manufacturing and/or using PFAS, and/or underlying chemicals and/or products added to AFFF,

and/or products containing PFAS in turnout gear, including at least 3M and DuPont, revealed

multiple potential adverse health impacts among workers exposed to such PFAS, including at least

PFOA, such as increased cancer incidence, hormone changes, lipid changes, and thyroid and liver

impacts, which such Defendants’ own scientists, lawyers, and advisors recommended be studied

further to assess the extent to which PFAS exposures were causing those effects.

       116.    When the United States Environmental Protection Agency (“USEPA”) and other

state and local public health agencies and officials first began learning of PFAS exposures in the



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United States and potential associated adverse health effects, Defendants repeatedly assured and

represented to such entities and the public that such exposures presented no risk of harm and were

of no legal, toxicological, or medical significance of any kind.

       117.    After USEPA and other entities began asking Defendants to stop manufacturing

and/or using certain PFAS, Defendants began manufacturing and/or using and/or began making

and/or using more of certain other and/or “new” PFAS, including PFAS materials with six or fewer

carbons, such as GenX (collectively “Short-Chain PFAS”).

       118.    Defendants manufacturing and/or using Short-Chain PFAS, including at least

DuPont and 3M, are aware that one or more such Short-Chain PFAS materials also have been

found in human blood.

       119.    By at least the mid-2010s, Defendants, including at least DuPont and Chemours,

were aware that at least one Short-Chain PFAS had been found to cause the same triad of tumors

(Leydig (testicular), liver, and pancreatic) in a chronic rat cancer study as had been found in a

chronic rat cancer study with a non-Short-Chain PFAS.

       120.    As of today’s date, the precise mechanism(s) of action by which any PFAS causes

each of the tumors found in animal studies has(ve) not been identified, mandating that Defendants

presume that any such PFAS that caused such tumors in animal studies be presumed to present a

potential cancer risk to exposed humans.

       121.    Research and testing performed by and/or on behalf of Defendants making and/or

using Short-Chain PFAS indicates that such Short-Chain PFAS materials present the same, similar,

and/or additional risks to human health as had been found in research on other PFAS materials,

including cancer risk.

       122.    Nevertheless, Defendants repeatedly assured and represented to governmental



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entities and the public (and continue to do so) that the presence of PFAS, including these Short-

Chain PFAS, in human blood at the levels found within the United States presents no risk of harm

and is of no legal, toxicological, or medical significance of any kind.

       123.     As of today’s date, Defendants, through their membership in the FluoroCouncil,

represent to the public through the FluoroCouncil website that: “The newer, short-chain

chemistries currently in use are well studied [and] … [t]he science supports the conclusion that the

newer FluoroTechnology is not expected to present a significant risk to humans and the

environment.”

       124.     At all relevant times, Defendants, individually and/or collectively, have had the

resources and ability but have intentionally, purposefully, recklessly, and/or negligently chosen

not to fund or sponsor any study, investigation, testing, and/or other research of any kind of the

nature Defendants claim is necessary to confirm and/or prove that the presence of any one and/or

combination of PFAS in human blood causes any disease and/or adverse health impact of any kind

in humans, presents any risk of harm to humans, and/or is of any legal, toxicological, or medical

significance to humans, according to standards Defendants deem acceptable.

       125.     Even after an independent science panel, known as the “C8 Science Panel,”

publicly announced in the 2010s that human exposure to 0.05 parts per billion or more of one

PFAS, PFOA, in drinking water for one year or more had “probable links” with certain human

diseases, including kidney cancer, testicular cancer, ulcerative colitis, thyroid disease,

preeclampsia, and medically-diagnosed high cholesterol, Defendants repeatedly assured and

represented to governmental entities, their customers, and the public (and continue to do so) that

the presence of PFAS in human blood at the levels found within the United States presents no risk

of harm and is of no legal, toxicological, or medical significance of any kind, and have represented



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to and assured such governmental entities, their customers, and the public (and continue to do so)

that the work of the independent C8 Science Panel was inadequate to satisfy the standards of

Defendants to prove such adverse effects upon and/or any risk to humans with respect to PFAS in

human blood.

        126.    At all relevant times, Defendants shared and/or should have shared among

themselves all relevant information relating to the presence, biopersistence, and bioaccumulation

of PFAS in human blood and associated toxicological, epidemiological, and/or other adverse

effects and/or risks.

        127.    As of the present date, blood serum testing and analysis by Defendants, independent

scientific researchers, and/or government entities has confirmed that PFAS materials are clinically

demonstrably present in approximately 99% of the current population of the United States.

        128.    There is no naturally-occurring “background,” normal, and/or acceptable level or

rate of any PFAS in human blood, as all PFAS detected and/or present in human blood is present

and/or detectable in such blood as a direct and proximate result of the acts and/or omissions of

Defendants.

        129.    Data exists to indicate that the presence, accumulation, toxic invasion, and/or

persistence of PFAS in human blood, including that of Plaintiffs, is injurious and physically

harmful and results in unwanted, unconsented-to, and deleterious alterations, changes, and/or other

presently-existing physical injury and/or adverse impacts to the blood and/or bodies of Plaintiffs,

including but not limited to subcellular injuries, including but not limited to biopersistence and

bioaccumulation within the body.

        130.    At all relevant times, Defendants, through their acts and/or omissions, controlled,

minimized, trivialized, manipulated, and/or otherwise influenced the information that was



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published in peer-review journals, released by any governmental entity, and/or otherwise made

available to the public relating to PFAS in human blood and any alleged adverse impacts and/or

risks associated therewith, effectively preventing Plaintiffs from discovering the existence and

extent of any injuries/harm as alleged herein.

       131.    At all relevant times, Defendants, through their acts and/or omissions, took steps to

attack, challenge, discredit, and/or otherwise undermine any scientific studies, findings,

statements, and/or other information that proposed, alleged, suggested, or even implied any

potential adverse health effects or risks and/or any other fact of any legal, toxicological, or medical

significance associated with the presence of PFAS in human blood.

       132.    At all relevant times, Defendants, through their acts and/or omissions, concealed

and/or withheld information from their customers, governmental entities, and the public that would

have properly and fully alerted Plaintiffs to the legal, toxicological, medical, or other significance

and/or risk from having any PFAS material in his blood.

       133.    At all relevant times, Defendants encouraged the continued and even further

increased use and release into the environment of PFAS by their customers and others, including

but not limited to through manufacture, use, and release, of AFFF containing PFAS and/or

emergency responder protection gear or equipment coated with materials made with or containing

PFAS, and tried to encourage and foster the increased and further use of PFAS in connection with

as many products/uses/and applications as possible, despite knowledge of the toxicity, persistence,

and bioaccumulation concerns associated with such activities.

       134.    Once governmental entities and regulators began learning of the potential toxicity,

persistence, and bioaccumulation concerns associated with PFAS, Defendants cited to the

pervasive use of such PFAS throughout numerous sectors of the American economy (which they



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had intentionally and purposefully encouraged and created) and the widespread presence of PFAS

in blood of Americans (which they also had negligently, recklessly, and/or intentionally caused)

as an excuse and/or reason not to restrict or regulate PFAS, essentially arguing that the issues

associated with PFAS had become “too big to regulate.”

        135.    To this day, Defendants deny that the presence of any PFAS in human blood, at any

level, is an injury or presents any harm or risk of harm of any kind, or is otherwise of any legal,

toxicological, or medical significance.

        136.    To this day, Defendants deny that any scientific study, research, testing, or other

work of any kind has been performed that is sufficient to suggest to the public that the presence of

any PFAS material in human blood, at any level, is of any legal, toxicological, medical, or other

significance.

        137.    Defendants, to this day, affirmatively assert and represent to governmental entities,

their customers, and the public that there is no evidence that any of the PFAS found in human

blood across the United States causes any health impacts or is sufficient to generate an increased

risk of future disease sufficient to warrant diagnostic medical testing, often referring to existing

studies or data as including too few participants or too few cases or incidents of disease to draw

any scientifically credible or statistically significant conclusions.

        138.    Defendants, to this day, use and rely upon what they claim is this same “lack of

definitive evidence of causation” as between any PFAS and any adverse human health effect to

oppose and try to discourage regulatory and/or legislative efforts to limit, restrict, and/or address

PFAS impacts to the environment or human health, and to oppose, reject, and deny claims that

PFAS has caused any injury or increased the risk of any adverse human health effects.

        139.    Yet, to this day, Defendants knowingly, willfully, purposefully, intentionally,



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recklessly, and/or negligently refuse to fund or conduct any scientific study, research, testing,

and/or other work of any kind that is extensive or comprehensive enough, according to Defendants,

to generate results that Defendants will accept (outside the context of an existing written settlement

agreement such as DuPont entered with respect to certain PFOA exposures, which created the C8

Science Panel) as sufficient to confirm a causal connection between any single or combination of

PFAS in human blood and any injury, human disease, adverse human health impact, and/or a risk

sufficient to warrant any personal injury compensation or future diagnostic medical testing,

including medical monitoring.

       140.    Defendants were and/or should have been aware, knew and/or should have known,

and/or foresaw or should have foreseen that their marketing, development, manufacture,

distribution, release, training and response of users, production of instructional materials, sale

and/or other handling and/or use of AFFF containing PFAS, and/or underlying chemicals and/or

products added to AFFF and/or products containing PFAS in turnout gear, would result in the

contamination of the blood and/or bodies of Plaintiffs with PFAS, and the biopersistence and

bioaccumulation of such PFAS in their blood and/or bodies.

       141.    Defendants were and /or should have been aware, or knew and/or should have

known, and/or foresaw or should have foreseen that allowing PFAS to contaminate the blood

and/or bodies of Plaintiffs would cause injury, irreparable harm, and/or unacceptable risk of such

injury and/or irreparable harm to Plaintiffs.

       142.    Defendants did not seek or obtain permission or consent from Plaintiffs before

engaging in such acts and/or omissions that caused, allowed, and/or otherwise resulted in

Plaintiffs’ exposure to AFFF and the contamination of Plaintiffs’ blood and/or bodies with PFAS

materials, and resulting biopersistence and bioaccumulation of such PFAS in their blood and/or



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bodies.

                              PLAINTIFFS’ EXPOSURE TO AFFF

          143.   Plaintiff James Chester, III worked as a firefighter for Federal Marine Terminals,

Inc. in Lake Charles, Louisiana from 1997 to 2008. During this time, he used AFFF containing

PFAS in firefighting training and response exercises, and used equipment/gear treated and/or

coated with materials containing and/or contaminated with one or more PFAS. He also used and

ingested water contaminated with PFAS. As a result, Plaintiff James Chester, III was diagnosed

with kidney failure in approximately 2022.

          144.   Plaintiff Dennis Crocker worked as a firefighter for Kenner Fire Department in

Orleans Parish, Louisiana, from 1981 to 2013, as well as Independence Fire Department in

Tangipahoa Parish, Louisiana, from 2010 to 2015. He also worked at the Louisiana Fire and

Emergency Training Academy in East Baton Rouge Parish, Louisiana, from 2008 to 2010. During

this time, he used AFFF containing PFAS in firefighting training and response exercises, and

used equipment/gear treated and/or coated with materials containing and/or contaminated with

one or more PFAS. He also used and ingested water contaminated with PFAS. As a result,

Plaintiff was diagnosed with pancreatic cancer in approximately 2022.

          145.   Plaintiff Bradley Daspit worked as a firefighter for Lacombe be Fire Department

in St. Tammany Parish, Louisiana, from 1974 to 1996. He also worked as a firefighter for

Harrison County Fire Department in Harrison County, Mississippi from 1996 to 2011. During

this time, he used AFFF containing PFAS in firefighting training and response exercises, and

used equipment/gear treated and/or coated with materials containing and/or contaminated with

one or more PFAS. He also used and ingested water contaminated with PFAS. As a result,

Plaintiff was diagnosed with prostate cancer in approximately 2022.



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       146.   Plaintiff Peter Haas was a member of the United States Navy from 1976 to 1998.

During this time he worked as a firefighter and used AFFF containing PFAS in firefighting

training and response exercises, and used equipment/gear treated and/or coated with materials

containing and/or contaminated with one or more PFAS. He also used and ingested water

contaminated with PFAS. As a result, Plaintiff Peter Haas was diagnosed with thyroid cancer in

approximately 2016.

       147.   Plaintiff Richard Hirstius was a member of the United States Coast Guard from

1973 to 1977. He also worked as a firefighter for New Orleans Fire Department in Orleans Parish,

Louisiana, from 1993 to 2013. During this time, he used AFFF containing PFAS in firefighting

training and response exercises, and used equipment/gear treated and/or coated with materials

containing and/or contaminated with one or more PFAS. He also used and ingested water

contaminated with PFAS. As a result, Plaintiff was diagnosed with prostate cancer in

approximately 2022.

       148.   Plaintiff Gene Jones worked as a firefighter for Bridge City Fire Department in

Jefferson Parish, Louisiana, from 1978 to the present. He also worked as a firefighter training

instructor from 1980 to 1985. During this time, he used AFFF containing PFAS in firefighting

training and response exercises, and used equipment/gear treated and/or coated with materials

containing and/or contaminated with one or more PFAS. He also used and ingested water

contaminated with PFAS. As a result, Plaintiff was diagnosed with kidney cancer in

approximately 2018.

       149.   Plaintiff Troy LaCour worked as a firefighter for New Orleans Fire Department in

Orleans Parish, Louisiana, from 1997 to 2008. During this time, he used AFFF containing PFAS

in firefighting training and response exercises, and used equipment/gear treated and/or coated



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with materials containing and/or contaminated with one or more PFAS. He also used and ingested

water contaminated with PFAS. As a result, Plaintiff was diagnosed with prostate cancer in

approximately 2016.

       150.   Plaintiff Edward Mayers, III worked as a firefighter in the United States Navy

from 1989 to 1992. During this time, he used AFFF containing PFAS in firefighting training and

response exercises, and used equipment/gear treated and/or coated with materials containing

and/or contaminated with one or more PFAS. He also used and ingested water contaminated with

PFAS. As a result, Plaintiff Edward Mayers, III was diagnosed with kidney cancer in

approximately 2019.

       151.   Plaintiff Kirk Meier worked as a firefighter for Kenner Fire Department in

Jefferson Parish, Louisiana, from 1992 to the present. During this time, he used AFFF containing

PFAS in firefighting training and response exercises, and used equipment/gear treated and/or

coated with materials containing and/or contaminated with one or more PFAS. He also used and

ingested water contaminated with PFAS. As a result, Plaintiff was diagnosed with testicular

cancer in approximately 2000.

       152.   Plaintiff Brian Monnerjahn was a member of the Merchant Marines from 1990 to

2005. During this time, he worked as a firefighter for During this time, he used AFFF containing

PFAS in firefighting training and response exercises, and used equipment/gear treated and/or

coated with materials containing and/or contaminated with one or more PFAS. He also used and

ingested water contaminated with PFAS. As a result, Plaintiff Brian Monnerjahn was diagnosed

with prostate cancer in approximately 2014.

       153.   Plaintiff Anthony Sambola, Jr. worked as a firefighter for Jefferson Parish Fire

Department in Jefferson Parish, Louisiana, from 1986 to 2013 and NASA Michoud in Jefferson



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Parish, Louisiana from 1981 to 1986. During this time, he used AFFF containing PFAS in

firefighting training and response exercises, and used equipment/gear treated and/or coated with

materials containing and/or contaminated with one or more PFAS. He also used and ingested

water contaminated with PFAS. As a result, Plaintiff was diagnosed with prostate cancer in

approximately 2022.

         154.   The AFFF containing PFAS, which was designed, manufactured, marketed,

distributed and/or sold by Defendants, was expected to, and did, reach the aforementioned

locations without substantial change in the condition in which it was sold.

         155.   The descriptive labels and data sheets for the AFFF containing PFAS utilized at

the aforementioned locations did not reasonably nor adequately describe the hazards of AFF

containing PFAS. Defendants knew or should have known of these hazards when the product was

distributed. Defendants manufactured, designed, marketed, distributed, and/or sold the AFFF,

and/or underlying chemicals and/or products added to AFFF, and/or products containing PFAS

in turnout gear knowing that the PFAS contained in the AFFF presented an unreasonable risk to

human health and the inherently dangerous.

         156.   Plaintiffs suffered, and continue to suffer, the effects attendant thereto, as a direct

and proximate result of the unreasonably dangerous and defective nature of Defendant’s wrongful

and negligent conduct in the design, engineering, manufacture, development, fabrication, testing,

release, training and response of users, production of informational materials, handling, selling,

use, and/or distribution of AFFF containing PFAS, and/or products containing PFAS in turnout

gear.

         157.   As detailed above and below, Defendant manufacturers of AFFF, and/or underlying

chemicals and/or products added to AFFF which contained PFAS, and/or products containing



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PFAS in turnout gear for use in firefighting, through their officers, directors, partners, and/or

managing agents had actual knowledge that the products were defective in the manner alleged

above and took affirmative steps to conceal the defects.

                                      CAUSES OF ACTION

                                             COUNT I
                                             Negligence

       158.    Plaintiffs hereby incorporate by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

       159.    Defendants had a duty to exercise reasonable care in their design, engineering,

manufacture, development, fabrication, testing, release, training and response of users, production

of informational materials, handling, selling, use, and/or distribution of the inherently

dangerous AFFF containing PFAS, and/or underlying chemicals and/or products added to AFFF,

and/or products containing PFAS in turnout gear, including a duty of care to ensure that PFAS did

not infiltrate, persist in, and accumulate in the blood and/or bodies of Plaintiffs.

       160.    Defendants owed a duty of care towards Plaintiffs that was commensurate with the

inherently dangerous, harmful, injurious, bio-persistent, environmentally-persistent, toxic, and

bio-accumulative nature of PFAS.

       161.    Defendants failed to exercise ordinary care by acts and/or omissions that permitted,

allowed, and/or otherwise resulted in the contamination of, persistence in, and accumulation in the

blood and/or bodies of Plaintiffs with one or more PFAS, including all such acts and/or omissions

referenced in this Complaint, resulting in Plaintiffs having one or more PFAS in their blood.

       162.    Defendants knew, foresaw, anticipated, and/or should have foreseen, anticipated,

and/or known that the design, engineering, manufacture, fabrication, sale, release, training and

response of users, production of informational materials, handling, use, and/or distribution of


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AFFF containing PFAS, and/or underlying chemicals and/or products added to AFFF, and/or

products containing PFAS in turnout gear, and/or other acts and/or omissions as described in this

Complaint could likely result in the contamination of the blood and/or bodies of Plaintiffs and its

persistence and accumulation in their blood and/or bodies.

       163.    Despite knowing, anticipating, and/or foreseeing the bio-persistent, bio-

accumulative, toxic, and/or otherwise harmful and/or injurious nature of AFFF containing PFAS,

Defendants, their agents, servants, and/or employees, committed negligent acts and/or omissions

that resulted in the contamination of the blood and/or bodies of Plaintiffs with one or more PFAS

materials, and the biopersistence and bioaccumulation of such PFAS in their blood and/or bodies.

       164.    Defendants, through their acts and/or omissions as described in this Complaint,

breached their duty to Plaintiffs.

       165.    It was reasonably foreseeable to Defendants that Plaintiffs would likely suffer the

injuries and harm described in this Complaint by virtue of Defendants’ breach of their duty and

failure to exercise ordinary care, as described herein.

       166.    But for Defendants’ negligent and/ or gross negligent acts and/or omissions,

Plaintiffs would not have been injured or harmed.

       167.    Defendants’ negligent conduct was the direct and proximate cause of the injuries

and harm to Plaintiffs, as described herein.

                                               COUNT II
                                                Battery

       168.    Plaintiffs hereby incorporate by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

       169.    At all relevant times, Defendants possessed knowledge that the AFFF containing

PFAS, and/or underlying chemicals and/or products added to AFFF, and/or products containing


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PFAS in turnout gear, which they designed, engineered, manufactured, fabricated, sold, handled,

released, trained users on, produced instructional materials for, used, and/or distributed were bio-

persistent, bio- accumulative, toxic, potentially carcinogenic, and/or otherwise harmful/injurious

and that their continued manufacture, use, sale, handling, release, and distribution would result in

Plaintiffs having PFAS in their blood, and the biopersistence and bioaccumulation of such PFAS

in their blood.

        170.      However,    despite   possessing     such    knowledge,   Defendants   knowingly,

purposefully, and/or intentionally continued to engage in such acts and/or omissions, including but

not limited to all such acts and/or omissions described in this Complaint, that continued to result

in Plaintiffs accumulating PFAS in their blood and/or bodies, and such PFAS persisting and

accumulating in their blood and/or bodies.

        171.      Defendants did not seek or obtain permission or consent from Plaintiffs to put or

allow PFAS materials into their blood and/or bodies, or to persist in and/or accumulate in their

blood and/or bodies.

        172.      Entry into, persistence in, and accumulation of such PFAS in Plaintiffs’ bodies

and/or blood without permission or consent is an unlawful and harmful and/or offensive physical

invasion and/or contact with Plaintiffs’ persons and unreasonably interferes with Plaintiffs’

rightful use and possession of Plaintiffs’ blood and/or bodies.

        173.      At all relevant times, the PFAS present in the blood of Plaintiffs originated from

Defendants’ acts and/or omissions.

        174.      Defendants continue to knowingly, intentionally, and/or purposefully engage in

acts and/or omissions that result in the unlawful and unconsented-to physical invasion and/or

contact with Plaintiffs that results in persisting and accumulating levels of PFAS in their blood.



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       175.    Plaintiffs, and any reasonable person, finds the contact at issue harmful and/or

offensive.

       176.    Defendants acted intentionally with the knowledge and/or belief that the contact,

presence and/or invasion of PFAS with, onto and/or into Plaintiffs’ blood serum, including its

persistence and accumulation in such serum, was substantially certain to result from those very

acts and/or omissions.

       177.    Defendants’ intentional acts and/or omissions resulted directly and/or indirectly in

harmful contact with Plaintiffs’ blood and/or bodies.

       178.    The continued presence, persistence, and accumulation of PFAS in the blood and/or

bodies of Plaintiffs is offensive, unreasonable, and/or harmful, and thereby constitutes a battery.

       179.    The presence of PFAS in the blood and/or bodies of Plaintiffs has altered the

structure and/or function of such blood and/or bodies parts and resulted in cancer.

       180.    As a direct and proximate result of the foregoing acts and omissions, Plaintiffs

suffered and continue to suffer physical injury for which Defendants are therefore liable.

                                           COUNT III
                                       Inadequate Warning

       181.    Plaintiffs hereby incorporate by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

       182.    Defendants knew or should have known: (a) exposure to AFFF containing PFAS

was hazardous to the environment and to human health; (b) the manner in which they were

designing, manufacturing, marketing, distributing, and selling AFFF containing PFAS, and/or

underlying chemicals and/or products added to AFFF, and/or products containing PFAS in turnout

gear, was hazardous to human health; and (c) the manner in which they were manufacturing,

marketing, distributing, and selling AFFF containing PFAS, and/or underlying chemicals and/or


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products added to AFFF, and/or products containing PFAS in turnout gear, would result in the

contamination of Plaintiffs’ blood and/or bodies as a result of exposure.

       183.    Defendants had a duty to warn of the hazards associated with AFFF containing

PFAS entering and poisoning the blood and/or bodies of Plaintiffs because they knew of the

dangerous, hazardous, toxic, and poisonous properties of AFFF containing PFAS. Defendants

failed to provide sufficient warning to purchasers that the use of their AFFF products would cause

PFAS to be released into Plaintiffs and cause the exposure and bioaccumulation of these toxic and

poisonous chemicals in the blood and/or bodies of Plaintiffs.

       184.    Adequate instructions and warnings on the AFFF containing PFAS could have

reduced or avoided these foreseeable risks of harm and injury to Plaintiffs. If Defendants provided

adequate warnings: (a) Plaintiffs could have and would have taken measures to avoid or lessen

their exposures; and (b) end users and governments could have taken steps to reduce or prevent

the release of PFASs into the blood and/or bodies of Plaintiffs. Defendants’ failure to warn was a

direct and proximate cause of Plaintiff's injuries from PFAS that came from the use, storage, and

disposal of AFFF containing PFAS. Crucially, Defendants’ failure to provide adequate and

sufficient warnings for the AFFF containing PFAS, and/or underlying chemicals and/or products

added to AFFF, and/or products containing PFAS in turnout gear, they manufactured, designed,

marketed, distributed, and sold renders the AFFF a defective product.

       185.    Defendants were negligent in their failure to provide Plaintiffs with adequate

warnings or instruction that the use of their AFFF products would cause PFAS to be released into

the blood and/or bodies of Plaintiffs. As a result of Defendants’ conduct and the resulting

contamination, Plaintiffs have suffered, and continue to suffer, sever personal injuries by exposure

to AFFF containing PFAS.


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       186.      Defendants’ negligent failure to warn directly and proximately caused the harm

to and damages suffered by Plaintiffs.

                                           COUNT IV
                                          Design Defect

       187.    Plaintiffs hereby incorporate by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full herein.

       188.    Defendants knew or should have known: (a) exposure to AFFF containing PFAS is

hazardous to human health; (b) the manner in which AFFF containing PFAS, and/or underlying

chemicals and/or products added to AFFF, and/or products containing PFAS in turnout gear, was

designed, manufactured, marketed, distributed, and sold was hazardous to human health; and (c)

the manner in which AFFF containing PFAS, and/or underlying chemicals and/or products added

to AFFF, and/or products containing PFAS in turnout gear, was designed, manufactured, marketed,

distributed, and could and would release PFAS into Plaintiffs and cause the exposure and

bioaccumulation of these toxic and poisonous chemicals in the blood and/or bodies of Plaintiffs.

       189.     Knowing of the dangerous and hazardous properties of the AFFF containing

PFAS, Defendants could have designed, manufactured, marketed, distributed, and sold alternative

designs or formulations of AFFF that did not contain hazardous, toxic, and poisonous PFAS. These

alternative designs and formulations were already available, practical, and technologically feasible.

The use of these alternative designs would have reduced or prevented the reasonably foreseeable

harm to Plaintiffs caused by the Defendants’ manufacture, marketing, distribution, and sale of

AFFF containing hazardous, toxic, and poisonous PFAS, and/or underlying chemicals and/or

products added to AFFF, and/or products containing PFAS in turnout gear.

       190.    The AFFF containing PFAS, and/or underlying chemicals and/or products added to

AFFF, and/or products containing PFAS in turnout gear, that was designed, manufactured,


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marketed, distributed, and sold by the Defendants was so hazardous, toxic, poisonous, and

dangerous to human health that the act of designing, formulating, manufacturing, marketing,

distributing, and selling this AFFF was unreasonably dangerous under the circumstances.

       191.      The AFFF, and/or underlying chemicals and/or products added to AFFF, and/or

products containing PFAS in turnout gear, designed, formulated, manufactured, marketed,

distributed, and sold by Defendants was defectively designed and the foreseeable risk of harm

could and would have been reduced or eliminated by the adoption of a reasonable alternative design

that was not unreasonably dangerous. Defendants’ defective design and formulation of AFFF

containing PFAS, and/or underlying chemicals and/or products added to AFFF, and/or products

containing PFAS in turnout gear, was a direct and proximate cause of the contamination of the

blood and/or bodies of Plaintiffs and the persistence and accumulation of PFAS in their blood

and/or bodies.

       192.      Defendants’ defective design and formulation of AFFF containing PFAS caused the

contamination described herein resulting in personal injuries to Plaintiffs. As a direct result of the

harm and injury caused by Defendants’ defective design and the contamination described herein,

Plaintiffs have been exposed to AFFF containing PFAS and other toxic substances and have

developed serious medical injuries, including cancer.

       193.      Defendants’ negligent failure to design a reasonably safe product directly and

proximately caused the harm to and damages suffered by Plaintiffs.

                                            COUNT V
                                    Strict Liability (Statutory)

       194.      Plaintiffs hereby incorporate by reference the allegations contained in the

preceding paragraphs




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         195. Plaintiffs assert any and all remedies available under statutory causes of action

from Plaintiffs’ state for strict liability against each Defendant.

         196. Defendants were engaged in designing, manufacturing, marketing, selling, and

distribution of AFFF and/or underlying chemicals and/or products added to AFFF, and/or

products containing PFAS in turnout gear.

         197. AFFF was in a defective condition and unreasonably dangerous to users and/or

consumers when designed, manufactured, marketed, sold, and/or distributed to the public by

Defendants.

         198. As a direct and proximate result of Defendants products’ aforementioned defects,

Plaintiffs have been injured, sustained severe and permanent pain, suffering, disability,

impairment, loss of enjoyment of life, loss of care, comfort, economic loss and damages

including, but not limited to medical expenses, lost income, and other damages.

              199. Defendants are strictly liable in tort to the Plaintiffs for their wrongful conduct.

                                               COUNT VI
                                      Strict Liability (Restatement)

         200. Plaintiffs hereby incorporate by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full herein.

         201. Plaintiffs bring strict product liability claims under the common law, Section

402A of the Restatement of Torts (Second), and/or Restatement of Torts (Third) against

Defendants.

         202. As designed, manufactured, marketed, tested, assembled, equipped, distributed

and/or sold by Defendants, the AFFF product was in a defective and unreasonably dangerous

condition when put to reasonably anticipated use to foreseeable consumers and users, including

Plaintiffs.

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        203. Defendants had available reasonable alternative designs which would have made

the AFFF product safer and would have most likely prevented the injuries and damages to

Plaintiffs, thus violating state law and the Restatement of Torts.

        204. Defendants failed to properly and adequately warn and instruct Plaintiff as to the

proper safety and use of the Defendants product.

        205. Defendants failed to properly and adequately warn and instruct Plaintiff regarding

the inadequate research and testing of the product.

        206. Defendants’ products are inherently dangerous and defective, unfit and unsafe for

their intended and reasonably foreseeable uses, and do not meet or perform to the expectations.

        207. As a proximate result of Defendants’ design, manufacture, marketing, sale, and

distribution of the products, Plaintiff has been injured and sustained severe and permanent pain,

suffering, disability, impairment, loss of enjoyment of life, and economic damages.

        208. By reason of the foregoing, Defendants are strictly liable for the injuries and

damages suffered by Plaintiff, caused by these defects in the AFFF product.

                                         COUNT VII
                                    Fraudulent Concealment

        209. Plaintiffs hereby incorporate by reference the allegations contained in the

preceding paragraphs s of this Complaint as if restated in full herein.

        210.    Throughout the relevant time period, Defendants knew that their products were

defective and unreasonably unsafe for their intended purpose.

        211. Defendants fraudulently concealed from and/or failed to disclose to or warn

Plaintiff and the public that their products were defective, unsafe, and unfit for the purposes

intended, and that they were not of merchantable quality.

        212. Defendants were under a duty to the Plaintiffs and the public to disclose and warn

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of the defective and harmful nature of the products because:

          a) Defendants were in a superior position to know the true quality, safety and efficacy
             of Defendants’ products;

          b) Defendants knowingly made false claims about the safety and quality of the
             Defendants’ product in documents and marketing materials; and

          c) Defendants fraudulently and affirmatively concealed the defective nature of
             Defendants’ products from Plaintiff.

          213. The facts concealed and/or not disclosed by Defendants to Plaintiffs were material

facts that a reasonable person would have considered to be important in deciding whether or not

to purchase and/or use Defendants’ products.

          214. Defendants intentionally concealed and/or failed to disclose the true defective

nature of the products so that the Plaintiffs would use Defendants’ products, the Plaintiffs

justifiably acted or relied upon, to Plaintiffs’ detriment, the concealed and/or non-disclosed facts

as evidenced by Plaintiffs’ use of Defendants’ products.

          215. Defendants, by concealment or other action, intentionally prevented Plaintiffs

from acquiring material information regarding the lack of safety and effectiveness of Defendants’

products and are subject to the same liability to the Plaintiffs for Plaintiffs’ pecuniary losses, as

though Defendants had stated the non-existence of such material information regarding

Defendants’ products’ lack of safety and effectiveness and dangers and defects, and as though

Defendants had affirmatively stated the non-existence of such matters that the Plaintiffs were thus

prevented from discovering the truth. Defendants therefore have liability for fraudulent

concealment under all applicable laws, including, inter alia, Restatement (Second) of Torts §550

(1977).

          216. As a proximate result of Defendants’ conduct, the Plaintiffs have been injured,

and sustained severe and permanent pain, suffering, disability, impairment, loss of enjoyment of


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life, comfort, and economic damages.

                                       COUNT VIII
                          Breach of Express and Implied Warranties

         217. Plaintiffs hereby incorporate by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full herein.

         218. At all times relevant hereto, Defendants manufactured, marketed, labeled, and

sold the AFFF products, and/or products containing PFAS in turnout gear, and/or chemicals

and/or products added to AFFF, that have been previously alleged and described herein.

         219. At the time Defendants designed, developed, marketed, sold, labeled, and

distributed the AFFF products, and/or underlying chemicals and/or products added to AFFF,

and/or products containing PFAS in turnout gear, Defendants knew of the use for which they

were intended, and implied and/or expressly warranted that the products were merchantable, safe,

and fit for the intended purpose.

         220. Defendants warranted that the products were merchantable and fit for the

particular purpose for which they were intended and would be reasonably safe. These warranties

were breached, and such breach proximately resulted in the injuries and damages suffered by

Plaintiff.

         221. Plaintiffs are within the class of foreseeable users and reasonably relied upon

Defendants' judgment, and the implied and/or express warranties in using the products.

         222. Defendants breached their implied and/or express warranties and did not meet the

expectations for the performance of the products when used for the intended use and was neither

of merchantable quality nor safe for the intended use in that the products have a propensity to

cause serious injury, pain, and cancer.




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                                            COUNT IX
                                            Wantonness

          223. Plaintiffs hereby incorporate by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full herein.

          224. Defendants and their employees, agents, officers, and representatives owed a duty

of care to end users of their AFFF products, including Plaintiffs.

          225. Defendants breached the duty of care owed to Plaintiffs.

          226. The actions of Defendants and their employees, agents, officers, and

representatives were willful and wanton and exhibited a reckless disregard for the life, health,

and safety of the end users of Defendants’ AFFF products, including Plaintiff.

           227. As a proximate and foreseeable consequent of the actions of Defendants, Plaintiffs

were exposed to unreasonably dangerous toxic PFAS containing AFFF, which caused Plaintiffs’

injury.

                                            COUNT X
                                         Punitive Damages

           228. Plaintiffs hereby incorporate by reference the allegations contained in the

preceding paragraphs of this Complaint as if restated in full herein.

          229.   Upon information and belief, Defendants engaged in willful, wanton, malicious,

and or/reckless conduct that was done without regard to the consequences or the safety of Plaintiffs

and caused the foregoing injuries upon Plaintiffs, disregarding his protected rights.

          230.   Defendants’ willful, wanton, malicious, and/or reckless conduct includes but is not

limited to Defendants’ failure to take all reasonable measures to ensure Plaintiffs were not exposed

to PFAS which Defendants knew were linked to serious medical conditions.




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       231.    Defendants have caused significant harm to Plaintiffs and have demonstrated a

conscious and outrageous disregard for their safety with implied malice, warranting the imposition

of punitive damages.

                       TOLLING THE STATUTE OF LIMITATIONS
                                Discovery Rule Tolling

        232. Plaintiffs had no way of knowing about the risk of serious injury associated with

the use of and exposure to AFFF until very recently.

        233. Within the time period of any applicable statute of limitations, Plaintiffs could not

have discovered, through the exercise of reasonable diligence, that exposure to AFFF is harmful

to human health.

        234. Plaintiffs did not discover and did not know of facts that would cause a reasonable

person to suspect the risk associated with the use of and exposure to AFFF; nor would a reasonable

and diligent investigation by Plaintiff have disclosed that AFFF could cause personal injury.

        235. For these reasons, all applicable statutes of limitations have been tolled by operation

of the discovery rule with respect to Plaintiffs’ claims.

                                Fraudulent Concealment Tolling

     236.      All applicable statute of limitations and statutes of repose have also been tolled by

Defendants knowing and active fraudulent concealment and denial of the facts alleged herein

throughout the time period relevant to this action.

     237.      Instead of disclosing critical safety information regarding AFFF, and/or underlying

chemicals and/or products added to AFFF, and/or products containing PFAS in turnout gear,

Defendants have consistently and falsely represented the safety of AFFF products.

     238.      This fraudulent concealment continues through present day.




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     239.        Due to this fraudulent concealment, all applicable statutes of limitations and

statutes of repose have been tolled with respect to Plaintiffs’ claims.

                                  Tolling Pursuant to 42 U.S.C. § 9658

     240.        Plaintiffs did not know and could not have reasonably known that their personal

injuries were caused by or contributed to by the use of and exposure to AFFF until sometime within

the past year.

     241.        The federally required commencement date for the running of the statute of

limitations begins running on the date Plaintiffs knew or reasonably should have known that the

personal injury was caused or contributed to by their exposure pursuant to 42 U.S.C. § 9658.

     242.        Plaintiffs did not discover and did not know of facts that would cause a reasonable

person to suspect the risk associated with the use of and exposure to AFFF; nor would a reasonable

and diligent investigation by Plaintiffs have disclosed that AFFF could cause personal injury.

     243.        For these reasons, applicable state statutes of limitations have been tolled by

operation of the discovery rule pursuant to 42 U.S.C. § 9658 with respect to Plaintiffs’ claims.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs request the Court enter judgment against the Defendants on each

of the above-referenced claims as follows:

                 (a)    Finding Defendants jointly, severally and solidarily liable for past,
                        present and future damages suffered by Plaintiffs;

                 (b)    Awarding compensatory damages in excess of the jurisdictional
                        amount, including, but not limited to pain, suffering, emotional
                        distress, loss of enjoyment of life, and other non-economic damages
                        in an amount to be determined at trial of this action;

                 (c)    Awarding economic damages in the form of medical expenses, out
                        of pocket expenses, lost earnings and other economic damages in an
                        amount to be determine at trial of this action;



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               (d)     Punitive and/or exemplary damages for the wanton, willful,
                       fraudulent, reckless acts of the Defendants who demonstrated a
                       complete disregard and reckless indifference for the safety and
                       welfare of the general public and to the Plaintiffs in an amount
                       sufficient to punish Defendants and deter future similar conduct;

               (e)     An order finding Defendants liable for conspiracy in the manner
                       described herein;

               (f)     Prejudgment interest;

               (g)     Post-judgment interest;

               (h)     Awarding Plaintiffs reasonable attorneys’ fees when applicable;

               (i)     Awarding Plaintiffs the costs of these proceedings; and

               (j)     Such other and further relief as this Court deems just and proper.

                                  DEMAND FOR JURY TRIAL

Plaintiffs hereby demand trial by jury as to all issues.

         Dated: January 5, 2022                        Respectfully submitted,

                                                       s/ Merritt E. Cunningham
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                                                       Merritt Cunningham (LA Bar 32843)
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